       TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN


                                      NO. 03-23-00290-CV


                               Keith Gregory Moraw, Appellant

                                                 v.

                              Concepcion Emelia Valdez, Appellee




                 FROM THE 426TH DISTRICT COURT OF BELL COUNTY
        NO. 321701, THE HONORABLE JACK WELDON JONES, JUDGE PRESIDING



                            MEMORANDUM OPINION


               Appellant’s brief was originally due on March 27, 2024.             After this Court

granted multiple motions requesting an extension of time to file his brief, appellant’s brief was due

July 15, 2024. In granting the most recent extension, this Court advised appellant that no further

extensions would be granted. To date, the brief has not been tendered for filing and is overdue.

Accordingly, we dismiss this appeal for want of prosecution. See Tex. R. App. P. 42.3(b).



                                              __________________________________________
                                              Edward Smith, Justice

Before Justices Baker, Smith, and Theofanis

Dismissed for Want of Prosecution

Filed: August 23, 2024
